                 Case 2:20-cv-01411-RSM Document 4 Filed 09/25/20 Page 1 of 1




 1

 2

 3

 4

 5
                               UNITED STATES DISTRICT COURT
 6                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 7

 8   AMAN SHEKHAR NAIDU,

 9                             Plaintiff,                 CASE NO. 2:20-cv-01411-RSM

10          v.                                            ORDER GRANTING
                                                          APPLICATION TO PROCEED IN
11   CHILD PROTECTIVE SERVICES,                           FORMA PAUPERIS

12                             Defendant.

13          Plaintiff’s application to proceed in forma pauperis (Dkt. 1) is GRANTED under 28

14   U.S.C § 1915(a)(1). The Court recommends the complaint be reviewed under 28 U.S.C. §

15   1915(e)(2)(B) before issuance of summons.

16          The Clerk shall provide a copy of this Order to Plaintiff and to the Honorable Ricardo S.

17   Martinez.

18          DATED this 25th day of September, 2020.

19

20                                                       A
                                                         BRIAN A. TSUCHIDA
21                                                       Chief United States Magistrate Judge

22

23



     ORDER GRANTING APPLICATION TO
     PROCEED IN FORMA PAUPERIS - 1
